

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. WR-48,087-05






MICHAEL DEAN SCHIPULL, Relator



v.



DISTRICT CLERK, BASTROP COUNTY, Respondent








ON APPLICATION FOR A WRIT OF MANDAMUS 


FROM  BASTROP COUNTY            






		Per curiam.



O R D E R




	This is an original application for a writ of mandamus.  Relator contends he filed
applications for writ of habeas corpus in cause numbers 10468 and 10753 in the 21st Judicial
District Court on December 10, 2004, but more than thirty-five days have elapsed and the
applications have not been forwarded to the Court of Criminal Appeals.

	It is this Court's opinion that additional information is required before a decision can be
reached on the motion for leave to file the instant action.  The respondent, District Clerk of
Bastrop County, is ordered to file with this Court within thirty days a response by submitting the
record on such habeas corpus applications or copies of timely-entered orders designating issues
to be investigated, see McCree v. Hampton, 824 S.W.2d 578 (Tex.Cr.App. 1992); Martin v.
Hamlin, 25 S.W.3rd 718 (Tex.Cr.App. 2000), or by stating the nature of any applications filed by
Relator such that they are not filed pursuant to Article 11.07, §&nbsp;3, TEX.CODE CRIM.PROC., or
that no applications by Relator have been filed.  This application for writ of mandamus is held in
abeyance pending compliance with this order.

	IT IS SO ORDERED this the 8th day of March, 2006.


DO NOT PUBLISH	


